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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

RICHARD J. HILL,                              )
                                              )              Case No. 2:19-cv-159-HYJ-MV
               Plaintiff,                     )
                                              )              U.S. District Judge:
       v.                                     )              Hon. Hala Y. Jarbou
                                              )
JUSTIN WONCH,                                 )              U.S. Magistrate Judge:
                                              )              Hon. Maarten Vermaat
               Defendant.                     )

  PLAINTIFF’S RESPONSE TO DEFENDANT’S BRIEF ON PUNITIVE DAMAGES

       Based on the timing of Defendant’s filing of its Brief on Punitive Damages (ECF No. 85,

PageID.707-PageID.713), Plaintiff presumes that Defendant files his Brief as a motion in limine to

preclude the introduction of evidence relevant to punitive damages as well as his stated request

that the jury not be instructed re: same. Though the parties have yet to file their proposed jury

instructions, Plaintiff does anticipate introducing evidence that will support an award of punitive

damages and requesting that the Court instruct the jury accordingly.

       Defendant claims that punitive damages in federal court § 1983 claims are normally

allowed in states where state law permits punitive damages. See Def’s. Br., PageID.707-

PageID.708. Defendant further argues that punitive damages should not be allowed here because

they are not allowed under Michigan law. See id. This argument is plainly contradicted by both

controlling and persuasive caselaw from the Supreme Court, the Sixth Circuit and Michigan’s

Federal District Courts.
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A.      42 U.S.C. § 1988(a) Prohibits the Application of Michigan’s Bar on Punitive Damages
to Plaintiff’s § 1983 Excessive Force Claim.

       § 1988(a) prohibits the application of Michigan’s bar on punitive damages for state law

claims on Plaintiff’s § 1983 claims. The statute states:

               [t]he jurisdiction in civil and criminal matters conferred on the
               district courts by the provisions of titles 13, 24, and 70 of the Revised
               Statutes for the protection of all persons in the United States in their
               civil rights, and for their vindication, shall be exercised and enforced
               in conformity with the laws of the United States, so far as such laws
               are suitable to carry the same into effect; but in all cases where they
               are not adapted to the object, or are deficient in the provisions
               necessary to furnish suitable remedies and punish offenses against
               law, the common law, as modified and changed by the constitution
               and statutes of the State wherein the court having jurisdiction of
               such civil or criminal cause is held, so far as the same is not
               inconsistent with the Constitution and laws of the United States,
               shall be extended to and govern the said courts in the trial and
               disposition of the cause, and, if it is of a criminal nature, in the
               infliction of punishment on the party found guilty.

(Emphasis added). Courts have construed § 1988(a) to mean that “a federal court is required to

use common law powers to facilitate, and not to hinder, proceedings in vindication of civil

rights.” Lefton v. City of Hattiesburg, Miss., 333 F.2d 280, 284 (5th Cir. 1964) (cited with approval

by McHugh v. Olympia Entertainment, Inc., 37 Fed. Appx. 730, 736 n. 4 (6th Cir. 2002)). The

protections afforded by 42 U.S.C. § 1983 are not to differ from state to state1 and a state statute

should be disregarded if it is inconsistent with the deterrence and compensation principles of §

1983. Board of Regents v. Tomanio, 446 U.S. 478, 489; 100 S.Ct. 1790; 64 L.Ed.2d 440 (1980);

Robertson v. Wegmann, 436 U.S. 584, 590-591; 98 S.Ct. 1991; 56 L.3d.2d 554 (1978) (state law

governs the availability of damages unless it is inconsistent with the policy goals of § 1983:




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               Busche v. Burkee, 649 F.2d 509, 518 (7th Cir. 1981)

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deterrence and compensation). Thus, state damages law inconsistent with federal law should not

be applied.

       Defendant’s argument against the application of punitive damages is contrary to

controlling case law. In Gordon v. Norman, 788 F.2d 1194, 1199 (6th Cir. 1986), the Sixth Circuit

held that Tennessee law on punitive damages should not limit the punitive damages awarded to

the § 1983 excessive force plaintiff. Tennessee law requires that a Plaintiff introduce evidence of

the financial condition of defendants to be awarded punitive damages. See id. (citing Breault v.

Friedli, 610 S.W.2d 134 (Tenn. 1980)). In Gordon, at trial, the plaintiff did not introduce

testimony on defendants’ financial condition and the court issued no instruction re: same. Id.

After the jury awarded plaintiff punitive damages, the defendants appealed, claiming Tennessee

law’s requirement of financial condition testimony required reversal of the punitive damages

award. In rejecting the defendant’s argument, the Gordon court held that:

               [f]ederal standards govern the determination of damages under the
               civil rights statutes. Thus, punitive damages may be awarded under
               § 1983 even when they would not normally be recoverable under the
               local law in the state where the violation occurred. Defendants’
               assertion that the award of punitive damages should be limited by
               application of Tennessee law is without merit.

Id. (emphasis added; internal citations omitted). Per Gordon, “[p]unitive damages for deprivation

of civil rights may be awarded when the defendant willfully and intentionally violates another’s

civil rights or when the defendant acts with reckless or callous indifference to the federally

protected rights of others.” Id. (citing Smith v. Wade, 461 U.S. 30, 103 S.Ct. 1625; 75 L.Ed.2d 632

(1983)).

       Moreover, Michigan law allows punitive damages in § 1983 claims. Janda v. City of

Detroit, 175 Mich. App. 120, 129 (Mich. App. 1989) (“punitive damages may be awarded under

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42 U.S.C. § 1983 even where they would not normally be recoverable under the local law in the

state where the violation occurred.” Id. (citing Gordon, supra)). Further still, the reasoning above

was applied by Judge Tarnow in a § 1983 case in this district. Murphy v. Gilman, 551 F.Supp.2d

677, 684-685 (W.D. Mich. 2008) (“Punitive damages were correctly awarded pursuant to §§

1983 and 1988 and Gordon. The absence of provision for them under the Michigan wrongful

death statute is irrelevant.” Id. at 685.).2

B.     Defendant’s Argument to Preclude Jury Instructions (and Presumably Evidence) of
Punitive Damages is Contrary to a Significant Amount of Controlling and Persuasive Case
Law.

         There is a wealth of both controlling and persuasive case law supporting the proposition

that punitive damages are permitted in 42 U.S.C. § 1983 claims. E.g., Smith v. Wade, supra, 461

U.S. at 56 (“We hold that a jury may be permitted to assess punitive damages in an action under

§ 1983 when the defendant’s conduct is shown to be motivated by evil motive or intent, or when

it involves reckless or callous indifference to the federally protected rights of others.”); e.g., Kidis

v. Reid, 976 F.3d 708 (6th Cir. 2020) (appeal from the Eastern District of Michigan; reducing,

but not reversing the amount of punitive damages awarded to Plaintiff at trial when jury awarded

$200,000 in punitive damages and $1 in compensatory damages); e.g., Romanski v. Detroit

Entertainment, L.L.C., 428 F.3d 629 (6th Cir. 2005) (upholding punitive damages award of

$600,000 in case where numerous allegations were raised under Michigan law, along with a §

1983 claim; case was removed from Michigan’s 3rd Judicial Circuit to the Eastern District); e.g.,

McHugh v. Olympia Entertainment, 37 Fed. Appx. 730 (6th Cir. 2002) (upholding $1.2 million in


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                  Though not raised by Defendant, Murphy also provides an analysis of why the Sixth Circuit’s
reasoning in Frontier Ins. Co. v. Blaty, 454 F.3d 590 (6th Cir. 2006), which could theoretically be construed an
adverse authority, does not bar punitive damages in a § 1983 case. Murphy was an 8th Amendment deliberate
indifference case but the analysis does not differ on this issue.

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punitive damages in § 1983 excessive force claim where civil rights claim was alleged with state

law claims of assault and battery and where there were nongovernmental co-defendants); e.g.,

Brooks v. Youngert, 4:03-cv-00137-ESC; Opinion of the Court; ECF No. 175 (W.D. Mich. 2006)

(denying Defendants’ Motion for New Trial or Remittitur, upholding punitive damages award in

§ 1983 case where the court also exercised supplemental jurisdiction over state law assault and

battery claims); e.g., Swans v. City of Lansing, 65 F.Supp.2d 625 (W.D. Mich. 1998) (upholding

$3.125 million in punitive damages in § 1983 case alleging excessive force and 8th Amendment

issues). Broadnax-Hill v. Hosington, 625 Fed. Appx. 268 (6th Cir. 2015) (Punitive damages not

allowed in case where jury found defendant deputy liable for assault and battery but not excessive

force). Defendant’s argument to preclude jury instructions, and presumably evidence, on

punitive damages lacks meaningful support and is contrary to a wealth of case law.

C.     Conclusion.

       Defendant’s Motion to preclude punitive damages should be denied. Any risk of juror

confusion can be mitigated by a well-crafted verdict form.



                                                     Respectfully submitted,

                                                     Numinen, DeForge & Toutant, P.C.

                                                             s/ Phillip B. Toutant
                                                     ____________________________
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                 CERTIFICATE OF COMPLIANCE RE: WORD COUNT

       Pursuant to WDMI LCivR 7.3(b)(ii), this filing complies with WDMI LCivR 7.3(b)(i)

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                                                                    /s Phillip B. Toutant
                                                            ________________________
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